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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
  WHAM-O HOLDING, LTD. and
  INTERSPORT CORP. d/b/a WHAM-O,
                                                  Case No.: 19-cv-04407
       Plaintiffs,
                                                  Judge Charles P. Kocoras
  v.
                                                  Magistrate Judge M. David Weisman
  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                             SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on August 22, 2019 [38] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                 NO.                                   DEFENDANT
                 221                                        Five bee
                  3                                    laurastore-2019
                  1                                   houseshop-2019
                  2                                    kezunstore2018
                  69                                 18kezunstore2018
                 134                                      nvrendexue
                 142                                        runride
                  70                                 2010lightinthebox
                  80                                   beauty_makers
                 133                                   newworld-2010
                 175                                   EPATHDEALS
                 148                                 storeshopping2014
                 155                                     tiantianupup
                 112                                    globedealfield
                 181                                      luckyroses
                 226                                      GUJJI FUN
                 251                                     MOONBUY
                  20                                     jazahusala_0
                 163                                        wildsyar
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                  99                                  easyglobalbuying


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: October 1, 2019                             Respectfully submitted,




                                                       ling Jiang
                                                   JiangIP LLC
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                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6297
                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 1st day of October, 2019.

Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
